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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,      )
                               )
              Plaintiff,       )                               8:17CR124
                               )
     vs.                       )
                               )
JUAN CARLOS OLEA, ARMANDO      )                                ORDER
LEDESMA and CARLOS CAMPOS-OLEA )
                               )
              Defendant.


      This matter is before the court on the defendant Campos-Olea’s Unopposed Motion
to Continue Trial [43]. Counsel is seeking additional time to review discovery and to
prepare for trial. Defendant has complied with NECrimR 12.1(a). For good cause shown,

        IT IS ORDERED that defendant Campos-Olea’s Unopposed Motion to Continue Trial
[43] is granted as follows:

      1. The jury trial, now set for August 29, 2017 is continued, as to all defendants,
to October 31, 2017.

       2. The defendant has filed an affidavit required by paragraph 9 of the progression
order and NE.CrimR 12.1(a) forthwith.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and October 31, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED August 21, 2017.

                                   BY THE COURT:

                                   s/ Michael D. Nelson
                                   United States Magistrate Judge
